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                                  123175



                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

   IN RE: COOK MEDICAL, INC, IVC FILTERS
   MARKETING, SALES PRACTICES AND                          Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                                    MDL No. 2570


  This Document Relates to Plaintiff(s)
  Anthony Stone

   Civil Case # 1:20-cv-02474



            [PROPOSED] ORDER GRANTING UNOPPOSED MOTION
     FOR LEAVE TO FILE AMENDED COMPLAINT AND SUBSTITUTE PARTIES



        Now before the Court is Plaintiff’s Unopposed Motion for Leave to Amend Complaint

 and Substitute Parties. Having considered the arguments, and for good cause shown, the Court

 GRANTS this Motion.

        IT IS SO ORDERED.



        Date: ______________                ________________________________
                                            RICHARD L. YOUNG
                                            UNITED STATES DISTRICT JUDGE


        Date: ______________                ________________________________
                                            TIM A. BAKER
                                            UNITED STATES MAGISTRATE JUDGE
